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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              PINE BLUFF DIVISION

MARVIN ANDERSON, ADC # 112614                                                 PETITIONER

v.                              No. 5:14CV00303-JLH-JJV

ARTIS RAY HOBBS, Director,
Arkansas Department of Correction                                           RESPONDENT

                                      JUDGMENT

      Consistent with the Order that was entered on this day, it is CONSIDERED, ORDERED, and

ADJUDGED that this case is DISMISSED WITH PREJUDICE. A certificate of appealability is

DENIED.

      DATED this 28th day of October, 2014.




                                                 J. LEON HOLMES
                                                 UNITED STATES DISTRICT JUDGE
